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B23 (Official Form 23) (12/10)
                                                          United States Bankruptcy Court
                                                                  Southern District of Florida
 In re     Cesar A Sayoc                                                                           Case No.   12-24912
                                                                              Debtor(s)            Chapter    7



         DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
                 COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT

         Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file
this certification. If a joint petition is filed, each spouse must complete and file a separate certification. Complete one of
the following statements and file by the deadline stated below:

           I, Cesar A Sayoc , the debtor in the above-styled case, hereby certify that on 06/25/2012 , I completed an
instructional course in personal financial management provided by A 24/7 Bankruptcy Class, Inc. , an approved personal
financial management provider.

           Certificate No. (if any): 00927-FLS-DE-018526338 .

           I,      , the debtor in the above-styled case, hereby certify that no personal financial management course is
required because of [Check the appropriate box.]:
               Incapacity or disability, as defined in 11 U.S.C.§ 109(h);
               Active military duty in a military combat zone; or
               Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
be required to complete such courses.

Signature of Debtor: /s/ Cesar A Sayoc
                                Cesar A Sayoc

Date:       June 25, 2012




Instructions: Use this form only to certify whether you completed a course in personal financial management. (Fed. R.
Bankr. P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling
provider and do NOT include with the petition when filing your case.
Filing Deadlines: In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under § 341 of
the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as required by the
plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed. R. Bankr. P.
1007(c).)




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